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3    Facsimile: (916) 557-1118
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4
     Attorney for Defendant
5    JOSE ANTONIO OJEDA CABADA
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8
9                                            UNITED STATES DISTRICT COURT
10                                          EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                           No. 2:08-CR-0562-06 WBS
12
13                             Plaintiff,                STIPULATION AND PROPOSED ORDER

14             v.
                                                         Date: January 4, 2016
15   JOSE ANTONIO OJEDA CABADA,                          Time: 9:00 a.m.
                                                         Hon. William B. Shubb
16                             Defendant.

17
               Defendant, JOSE ANTONIO OJEDA CABADA, by and through his attorney, John
18
     Balazs, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant
19
     U.S. Attorney Jason Hitt, hereby stipulate to continue the further hearing on defendant’s motion
20
     to reduce sentence under 18 U.S.C. §3582(c)(2) from December 14 to January 4, 2016 at
21
     9:00 a.m. The reason for this request is that defense counsel needs additional time to arrange a
22
     prison legal call with the defendant to discuss a proposed resolution.
23             ///
24             ///
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27
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     Stipulation and Order Re: Sentence Reduction         1
      Case 2:08-cr-00562-WBS Document 430 Filed 12/10/15 Page 2 of 2



1              It is so stipulated.

2    Dated: December 9, 2015                        Dated: December 9, 2015

3
     BENJAMIN B. WAGNER
4    United States Attorney
5
      /s/ Jason Hitt                                 /s/John Balazs
6    JASON HITT                                     JOHN BALAZS
     Assistant U.S. Attorney
7
     Attorney for Plaintiff                         Attorney for Defendant
8    UNITED STATES OF AMERICA                       JOSE ANTONIO OJEDA CABADA
9
10
11                                                  ORDER

12             It is so ordered.

13             Dated: December 10, 2015

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     Stipulation and Order Re: Sentence Reduction      2
